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 6
 7                                 UNITED STATES DISTRICT COURT
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9                                          CRIMINAL DIVISION
10
                                        )
11   THE UNITED STATES OF               )    Docket No. 2:06-cr-00441-GEB
     AMERICA                            )
12                                      )    JOINT REQUEST FOR A PRE-PLEA
                    Plaintiff,          )    REPORT AND STIPULATION AND
13          vs.                         )    [PROPOSED ORDER] CONTINUING
                                        )    STATUS CONFERENCE
14   ISAURO JAUREGUI                    )    Date: January 13, 2012
     CATALAN,                           )    Time: 9:00 a.m.
15                                      )    Judge: Honorable Garland E. Burrell, Jr.
                    Defendant.
16
17          The parties are in accord that the preparation of a pre-plea report is appropriate in this
18   case in aid of settlement. Counsel for the defendant has contacted Hugo Ortiz, Supervisor of the
19   United States Probation Office and he indicated that upon request and order his staff would need
20   a minimum of 45 days to prepare said report. Defendant hereby request this court to order that a
21   pre-plea report be prepared as defendant’s criminal history is complex and such a report will aid
22   in settlement negotiations.
23          IT IS HEREBY stipulated between the United States of America through its undersigned
24   counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for
25   defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the status conference presently set
26   for February 24, 2012 be continued to April 27, 2012, at 9:00 a.m., thus vacating the
27   presently set status conference.
28          Further, defendant and the United States of America hereby agree and stipulate that the
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 1   ends of justice served by the granting of such a continuance outweigh the best interests of the
 2   public and the defendants in a speedy trial and that time under the Speedy Trial Act should
 3   therefore be under meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of
 4   counsel/ reasonable time for effective preparation, specifically the continuance is requested to
 5   allow time for the preparation of a pre-plea report and the culmination of negotiations for
 6   resolution and Local Code T4, and agree to exclude time from the date of the filing of the order
 7   until the date of the status conference, April 27, 2012.
 8   Dated: February 22, 2012
 9                                                 __/s/_________________________________
                                                   Edward C. Bell
10
     Dated:
11
                                                   _____________________________________
12                                                 Benjamin B. Wagner, United States Attorney
                                                   by: /s/ Jill M. Thomas
13                                                 JILL M. THOMAS
                                                   Assistant U.S. Attorney
14
              Good cause appearing,
15
              IT IS HEREBY ORDERED that the United States Probation Office for the Eastern
16
     District of California prepare a pre-plea report for defendant Isauro Catalan
17
     for the sole purpose of calculating his criminal history.
18
19           IT IS FURTHER ORDERED that the status conference currently set for Feburary 24,
      2012 be vacated and continued to April 27, 2012. Further, the court finds that ends of justice
20
      are served by the granting of such a continuance and outweigh the best interests of the public
21    and the defendants in a speedy trial and that time under the Speedy Trial Act should therefore
     be under meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) excluded.
22
23
     Dated: March 7, 2012
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25
26                                             GARLAND E. BURRELL, JR.
27                                             United States District Judge

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